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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
                                1:21-cr-00310-SDG-LTW
                                    USA v. Williams
                              Honorable Steven D. Grimberg

                  Minute Sheet for proceedings held In Open Court on 02/09/2022.


    TIME COURT COMMENCED: 11:10 A.M.
    TIME COURT CONCLUDED: 11:30 A.M.              COURT REPORTER: Alicia Bagley
    TIME IN COURT: 00:20                          DEPUTY CLERK: Alisha Holland
    OFFICE LOCATION: Atlanta

DEFENDANT(S):       [1]Dawuan Na'Jee Williams Present at proceedings
ATTORNEY(S)         Theodore Hertzberg representing USA
PRESENT:            Kendal Silas representing Dawuan Na'Jee Williams
PROCEEDING
                    Change of Plea;
CATEGORY:
PLEADINGS FILED
                    Guilty Plea and Plea Agreement
IN COURT:
MINUTE TEXT:        Defendant was sworn, advised of rights, and a binding guilty plea was
                    entered as to count two of the Indictment. The Court accepted the plea as
                    knowingly and voluntarily entered, however, defers its decision as to
                    whether it will accept the binding plea until it reviews the Pre-Sentence
                    Report. Sentencing is set for May 10, 2022 at 2:00 p.m. The Court ordered
                    the government to notify the Court of any material information contained
                    in the Pre-Sentence Report that was not known at the time the plea
                    agreement was executed. Separate sentencing hearing order to follow.
HEARING STATUS:     Hearing Concluded
